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               IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF TEXAS
                        BEAUMONT DIVISION



                                  No. 1:08-CR-164(8)


 United States of America


 v.

 Evelyn Thibodeaux

                                               Defendant




               Findings of Fact and Recommendation on Guilty Plea
                      Before United States Magistrate Judge


         Pursuant to 28 U.S.C. § 636(b), this matter was referred to the
 undersigned United States Magistrate Judge to receive defendant’s guilty plea.

         On March 18, 2010, defendant, defendant’s counsel, and the government
 came before the court for guilty plea and allocution on Count I of the Information
 filed herein, charging a violation of 21 U.S.C. § 843(b).         After conducting
 proceedings in the form and manner prescribed by Rule 11 of the Federal Rules
 of Criminal Procedure, the undersigned accepted the guilty plea upon finding
 that:

         (1)    Defendant, after consultation with counsel of record, knowingly and
 voluntarily consents to pleading guilty before a United States magistrate judge,
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 and did plead guilty to Count I of the Information subject to final approval of the
 plea agreement, conviction and imposition of sentence by the district judge to
 whom this case is assigned.

       (2)   Defendant is fully competent and capable of entering an informed
 plea, is aware of the nature of the charges and the consequences of the plea, and
 the plea of guilty is a knowing and voluntary plea supported by an independent
 basis in fact containing each of the essential elements of the offense.

       (3)    Defendant’s plea is made pursuant to a plea agreement, a copy of
 which was produced for inspection and filed in the record. The plea agreement
 is of the type specified in Fed. R. Crim. P. 11 (c)(1)(A) and (B), in that (1) the
 government agrees to not bring, or move to dismiss, other charges and (2) the
 parties agree and make a non binding recommendation that a particular
 provision of the Sentencing Guidelines, policy statement, or sentencing factor
 does or does not apply.

       (4)   Defendant was advised that the court would defer its decision as to
 acceptance or rejection of the plea agreement until there has been an
 opportunity to consider the presentence report.

       (5)   Defendant was further advised that if the court chooses not to follow
 the plea agreement’s stipulations regarding appropriate sentencing factors,
 defendant will have no right to withdraw the plea.

       (6)   Defendant was further advised that if the court accepts that part of
 the plea agreement provision wherein the United States agrees to dismiss or not
 bring other charges, such agreed disposition will be included in the judgment.
 Defendant was further advised that if the court rejects that provision, the court
 will give defendant an opportunity to withdraw the plea of guilty. Defendant
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 was further advised that if defendant were to then choose not to withdraw the
 plea of guilty, the court may dispose of the case less favorably toward the
 defendant than the plea agreement contemplated.

                             RECOMMENDATION

       Defendant’s guilty plea has been accepted. The court should conditionally
 accept the plea agreement, and defer its final decision as to acceptance or
 rejection of the plea agreement until it has an opportunity to consider the
 presentence report. If the court ultimately decides to accept the plea agreement,
 defendant should be adjudged guilty of the offense to which he has pleaded
 guilty.1


                     19 day of March, 2010.
       SIGNED this _____




                                      ______________________________________
                                      Earl S. Hines
                                      United States Magistrate Judge




       1
              Upon conclusion of plea proceedings, both parties stated that they
 do not object to the findings and recommendation stated above.          Moreover,
 magistrate judges accept felony guilty pleas for purposes of Rule 11, Federal
 Rules of Criminal Procedure, upon direction of a United States district judge and
 with consent of the parties under the “additional duties” clause of the Federal
 Magistrates Act of 1968, codified at 28 U.S.C. § 636(b)(3). Section 636(b)(3)
 does not provide a party with ten days to file written objections. Minetti v.
 Port of Seattle, 152 F.3d 1113 (9th Cir.1998); see also United States v. Brumer,
 528 F.3d 157 (2nd Cir.2008), United States v. Reyna-Tapia, 328 F.3d 1114 (9th
 Cir.2003).
